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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,

                                 Plaintiff,          Case No. 3:06 CR 712

               v.                                    MEMORANDUM OPINION
                                                         AND ORDER
DAVID GEISEN, et al.,

                                 Defendant.

KATZ, J.

       Defendant Andrew Siemaszko has filed multiple motions and memoranda in support

thereof (Doc. Nos 143, 145, 146, 147, 148 & 152), as to which the Government has filed an

omnibus response (Doc. No. 163) and Defendants Geisen and Cook have filed an omnibus

response (Doc. Nos. 164 & 166). After reviewing all filings related to the several motions of

Siemaszko, the Court issues the following ruling with respect to each:

       (Doc. No. 143) MOTION FOR DISCLOSURE OF INTENT TO OFFER “BAD ACTS” TESTIMONY -
       RULE 404(B).

       Defendant Siemaszko seeks disclosure of 404(b) evidence intended for use by the United

States at trial. That was provided in the filing made by the United States in response to the motion

and, thus, the motion is moot.

       (Doc. No. 145) MOTION IN LIMINE TO PRECLUDE ALLEGATION REGARDING WORK ORDER

       This motion relates closely to Doc. No. 143. The issue surrounds work order 00-001846-

000. On that work order Mr. Siemaszko admitted writing the words “Work performed without

deviation” and signing the annotation. The United States contends that was a false statement
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which motivated his later involvement in the concealment of the condition of the head reflected in

submission to the NRC, and further, that the same demonstrates such concealment was not an

accident or mistake. Mr. Siemaszko contends to the contrary, asserting that his words were not

intended to apply to the entirety of the head cleaning but, as the Court understands it, only as to

that portion for which he was directly responsible.    Rule 404(b) covers this directly. The

Government is permitted to show under that rule the notations outlined above as proof of motive,

“* * * or absence of mistake or accident * * *”. The Government submission is intended to do

just that. Motion denied.

       (Doc. No. 146) MOTION IN LIMINE REGARDING EXAGGERATED THREAT OF HARM TO THE
       GENERAL PUBLIC.

       The United States does not object, in the main, to this motion. That portion of its response

at page 4 of its memorandum, four numbered paragraphs, is significantly different from the

exaggeration of threat to the public arising from the acts giving rise to the indictment in this case.

As to those four numbered paragraphs the Court, at this juncture, will not grant Defendant

Siemaszko’s motion.

       Further, Defendants Geisen and Cook assert that the Government should be precluded

from making an argument about an exaggerated risk of harm and that this Court should

affirmatively instruct the jury regarding the NRC’s public statements to the contrary. The Court

will not instruct the jury accordingly, but strongly urges the parties to agree upon a joint exhibit

incorporating language contained in the releases from the NRC or letters and/or stories in the

media. Such a joint exhibit would be read by the Court and sent to the jury during deliberations.

       Except as noted above, the motion of Defendant is granted.

       (Doc. No. 147) MOTION IN LIMINE TO EXCLUDE TESTIMONY OF HOLMBERG AND GAVULA

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       REGARDING INDEPENDENT REVIEW OF VIDEOTAPE.

       At present, Mr. Gavula is not on the witness list of the Government. Therefore, his

involvement in this case will not be addressed at this juncture. It is alleged in the Government’s

memorandum that Mr. Holmberg “meticulously reviewed the video recordings of head inspections

from the 1996-1998 and 2000 inspections to determine what nozzles could, in fact, be inspected.

Mr. Holmberg’s testimony about his review of the tapes provides direct, relevant evidence of the

falsity of Defendant Siemaszko’s representations.”

       At this juncture, it appears that Mr. Holmberg will testify concerning his conclusions after

a review of the same videos Mr. Siemaszko used to produce a table which was presented to the

NRC. It appears that the chart constructed by Mr. Siemaszko contained portions later determined

to be inaccurate and that he does not intend to challenge the allegation that portions of that chart

are inaccurate. The issue apparently will be whether Mr. Siemaszko was, at the time the chart was

submitted, aware of such inaccuracies. Assuming that Mr. Holmberg will testify that a review of

the video tapes noted above reflects certain information which was available to Siemaszko at the

time or times the chart was constructed, the Court does not agree with Defendants that the

testimony intended would be irrelevant. At this juncture the Court will deny Defendant’s motion.

       (Doc. No. 148) MOTION IN LIMINE TO PRECLUDE OPINION TESTIMONY

       The Government concedes that the motion should be granted in part; that is, Eric Calhoun,

a Department of Labor investigator, may not testify regarding his conclusion that Siemaszko was

involved in a conspiracy of any kind. He may testify concerning his recollection of his interview

with Defendant Siemaszko, but any conclusion regarding the information he gleaned at that

interview are outside the purview of permitted testimony. Therefore, Defendant’s motion is


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granted in part.

       (Doc. No. 152) MOTION TO COMPEL PRODUCTION OF RELEVANT DOCUMENTS

       Siemaszko seeks to compel production of Calhoun’s activity/telephone log and email

communications between himself and the prosecution team. The United States has responded that

it has produced the entire file of the Department of Labor and all Jencks Act statements and that

there is nothing more to produce under Rule 16 or any other rule. That being the case, unless

additional information is discovered by the Government, as to which it has a duty to divulge the

same to Defendants, since there is no additional information which would be responsive to Mr.

Siemaszko’s motion, that motion is denied.

       IT IS SO ORDERED.

                                                       s/ David A. Katz
                                                     DAVID A. KATZ
                                                     U. S. DISTRICT JUDGE




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